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   NEW YORK STATE
   DEPARTMENT OF FINANCIAL SERVICES


   In the Matter of

   OCWEN FINANCIAL CORPORATION,
   OCWEN LOAN SERVICING, LLC



           CONSENT ORDER PURSUANT TO NEW YORK BANKING LAW § 44

           The New York State Department of Financial Services (the “Department”) and Ocwen

   Financial Corporation, the parent company of Ocwen Loan Servicing, LLC (together, “Ocwen”),

   (collectively, the “Parties”) stipulate that:

           WHEREAS, Ocwen is the fourth largest mortgage loan servicer and the largest servicer

   of subprime loans in the United States, servicing an unpaid principal balance (“UPB”) of

   approximately $430 billion. In New York alone, Ocwen services nearly 130,000 residential

   home loans with a total UPB of more than $30 billion.

           WHEREAS, Ocwen is a New York State-licensed mortgage banker and mortgage loan

   servicer, pursuant to the New York Banking Law, and the Department is responsible for its

   supervision and regulation;

           WHEREAS, in the last five years, Ocwen has acquired mortgage servicing rights

   (“MSRs”) for hundreds of billions of dollars in UPB from several major servicers, including

   Litton Loan Servicing LP (“Litton”), Saxon Mortgage Services, Inc. (“Saxon”), and Homeward

   Residential Holdings, Inc. (“Homeward”);

           WHEREAS, in 2010 and 2011, the multistate examinations of Ocwen, Litton, and

   Homeward identified numerous and significant violations of New York State laws and

   regulations;



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          WHEREAS, on September 1, 2011, in connection with Ocwen’s acquisition of Litton

   and amid concerns regarding Ocwen’s rapid growth and capacity to properly acquire and service

   a significant portfolio of distressed home loans, Ocwen and the Department entered into an

   Agreement on Mortgage Servicing Practices (the “2011 Agreement”), which required Ocwen to

   adhere to certain servicing practices in the best interest of borrowers and investors;

          WHEREAS, a June 2012 targeted examination of Ocwen revealed that Ocwen violated

   the 2011 Agreement;

          WHEREAS, as a result of Ocwen’s violation of the 2011 Agreement, Ocwen entered

   into a Consent Order with the Department on December 5, 2012, which required Ocwen to retain

   an independent compliance monitor (the “Compliance Monitor”) for two years to conduct a

   comprehensive review of Ocwen’s servicing operations;

          WHEREAS, the Department and the Compliance Monitor identified numerous and

   significant additional violations of the 2011 Agreement, as well as New York State laws and

   regulations;

          NOW, THEREFORE, to resolve this matter, the Parties agree to the following:

                                                  Facts

          1.      Ocwen has grown more than ten-fold in the last several years. Beginning in 2009,

   Ocwen significantly expanded its servicing operations through the acquisition of several major

   servicers of home loans, as well as the acquisition of MSRs for hundreds of billions of dollars in

   UPB. From the end of 2009 to the end of 2013, Ocwen’s servicing portfolio grew from 351,595

   residential loans with an aggregate UPB of $50 billion to 2,861,918 residential loans with an

   aggregate UPB of $464.7 billion.




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           2.     In 2010 and 2011, the Department participated in a multistate examination of

   Ocwen, as well as examinations of Litton and Homeward, the entities ultimately acquired by

   Ocwen. The examination of Ocwen identified, among other things, deficiencies in Ocwen’s

   servicing platform and loss mitigation infrastructure, including (a) robo-signing, (b) inaccurate

   affidavits and failure to properly validate document execution processes, (c) missing

   documentation, (d) wrongful foreclosure, (e) failure to properly maintain books and records, and

   (f) initiation of foreclosure actions without proper legal standing.

           3.     The examinations of Litton and Homeward identified substantial deficiencies,

   weaknesses, and violations of laws and regulations relating to, among other things, foreclosure

   governance, implementation of modification programs, record keeping, required notifications,

   and the charging of unallowable fees.

           4.     The examination of Litton also revealed that, prior to Ocwen’s acquisition of

   Litton, members of Litton’s information technology staff falsified documents provided to the

   Department during the review of Litton’s information technology infrastructure.

           5.     In connection with Ocwen’s acquisition of Litton in 2011 and in light of the

   examination findings for both Ocwen and Litton, the Department sought to ensure that Ocwen

   had sufficient capacity to properly acquire and manage a significant portfolio of distressed loans,

   including the ability to effectively manage the increased volume and comply with requirements

   under the federal Home Affordable Modification Program, internal loss mitigation policies and

   procedures, and laws and regulations governing mortgage loan servicing and foreclosure

   activities.

           6.     To that end, Ocwen and the Department entered into an Agreement on Mortgage

   Servicing Practices on September 1, 2011, which required Ocwen to: (a) establish and maintain




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   sufficient capacity to properly acquire and manage its significant portfolio of distressed loans to

   ensure a smooth borrower transition; (b) engage in sound document execution and retention

   practices to ensure that mortgage files are accurate, complete, and reliable; and (c) implement a

   system of robust internal controls and oversight with respect to mortgage servicing practices

   performed by its staff and third party vendors to prevent improper foreclosures and maximize

   struggling borrowers’ opportunities to keep their homes.

          7.      In June 2012, the Department conducted a targeted examination of Ocwen to

   assess its compliance with the 2011 Agreement and Part 419 of the Superintendent’s

   Regulations, which governs business conduct rules for servicers. The examination identified

   gaps in the servicing records of certain loans that indicated repeated non-compliance by Ocwen,

   including: (a) failing to send borrowers a 90-day notice prior to commencing a foreclosure

   action as required under New York Real Property Actions and Proceedings Law (“RPAPL”)

   § 1304, (b) commencing foreclosure actions on subprime loans without affirmatively alleging in

   the complaint that Ocwen had standing to bring the foreclosure action as required by RPAPL

   § 1302, and (c) commencing foreclosure actions without sufficient documentation of its standing

   to do so.

          8.      The targeted examination also identified instances that indicated widespread non-

   compliance with the 2011 Agreement including: (a) failing to provide borrowers with the direct

   contact information for their designated single point of contact, a customer care representative

   whose role is to understand each assigned borrower’s circumstances and history to ensure that

   the borrower receives efficient and consistent customer care; (b) dual-tracking; (c) failing to

   conduct an independent review of loan modification denials; (d) failing to demonstrate adoption

   of policies and procedures to effectively track sanctioned third-party vendors, including local




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   foreclosure counsel; (e) failing to demonstrate implementation of policies and procedures to

   verify borrower information on newly boarded accounts to accurately reflect the status and

   current balance of the borrower’s account; and (f) failing to ensure that trial or permanent

   modifications granted to borrowers by a prior servicer are honored upon transfer to Ocwen.

          9.       Consequently, on December 5, 2012, Ocwen entered into a Consent Order with

   the Department, which required Ocwen to retain an independent compliance monitor for two

   years. The Consent Order mandated that the Compliance Monitor, which would report directly

   to the Department, would “conduct a comprehensive review . . . of Ocwen’s servicing

   operations, including its compliance program and operational policies and procedures.” The

   review would, at a minimum, consider (a) the adequacy of Ocwen’s staffing levels, (b) the

   robustness of Ocwen’s established policies and procedures, (c) the fairness of servicing fees and

   foreclosure charges, (d) the accuracy of borrower account information, (e) Ocwen’s compliance

   with federal and state law, (f) borrower complaints and recordings of customer service, and (g)

   Ocwen’s compliance with the Agreement.

          10.      The Compliance Monitor began work in July 2013.

          11.      In the course of the Compliance Monitor’s review, it identified numerous and

   significant violations of the 2011 Agreement, as well as New York State laws and regulations.

          12.      For example, a limited review by the Compliance Monitor of 478 New York loans

   that Ocwen had foreclosed upon revealed 1,358 violations of Ocwen’s legal obligations, or about

   three violations per foreclosed loan. These violations included:

          x     failing to confirm that it had the right to foreclose before initiating foreclosure
                proceedings;

          x     failing to ensure that its statements to the court in foreclosure proceedings were
                correct;




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           x     pursuing foreclosure even while modification applications were pending (“dual
                 tracking”);

           x     failing to maintain records confirming that it is not pursuing foreclosure of
                 servicemembers on active duty; and

           x     failing to assign a designated customer care representative.

           13.      The Department and the Compliance Monitor also identified, among other things,

   (a) inadequate and ineffective information technology systems and personnel, and (b) widespread

   conflicts of interest with related parties.

            Inadequate and Ineffective Information Technology Systems and Personnel

           14.      In the course of its review, the Compliance Monitor determined that Ocwen’s

   information technology systems are a patchwork of legacy systems and systems inherited from

   acquired companies, many of which are incompatible. A frequent occurrence is that a fix to one

   system creates unintended consequences in other systems. As a result, Ocwen regularly gives

   borrowers incorrect or outdated information, sends borrowers backdated letters, unreliably tracks

   data for investors, and maintains inaccurate records. There are insufficient controls in place—

   either manual or automated—to catch all of these errors and resolve them.

           15.      For example, Ocwen’s systems have been backdating letters for years. In many

   cases, borrowers received a letter denying a mortgage loan modification, and the letter was dated

   more than 30 days prior to the date that Ocwen mailed the letter. These borrowers were given 30

   days from the date of the denial letter to appeal that denial, but those 30 days had already elapsed

   by the time they received the backdated letter. In other cases, Ocwen’s systems show that

   borrowers facing foreclosure received letters with a date by which to cure their default and avoid

   foreclosure—and the cure date was months prior to receipt of the letter. Ocwen’s processes

   failed to identify and remedy these errors.




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           16.     Moreover, Ocwen failed to fully investigate and appropriately address the

   backdating issue when an employee questioned the accuracy of Ocwen’s letter dating processes

   and alerted the company’s Vice President of Compliance. Ocwen ignored the issue for five

   months until the same employee raised it again. While Ocwen then began efforts to address the

   backdating issue, its investigation was incomplete and Ocwen has not fully resolved the issue to

   date, more than a year after its initial discovery.

           17.     Ocwen’s core servicing functions rely on its inadequate systems. Specifically,

   Ocwen uses comment codes entered either manually or automatically to service its portfolio;

   each code initiates a process, such as sending a delinquency letter to a borrower, or referring a

   loan to foreclosure counsel. With Ocwen’s rapid growth and acquisitions of other servicers, the

   number of Ocwen’s comment codes has ballooned to more than 8,400 such codes. Often, due to

   insufficient integration following acquisitions of other servicers, there are duplicate codes that

   perform the same function. The result is an unnecessarily complex system of comment codes,

   including, for example, 50 different codes for the single function of assigning a struggling

   borrower a designated customer care representative.

           18.     Despite these issues, Ocwen continues to rely on those systems to service its

   portfolio of distressed loans. Ocwen’s reliance on technology has led it to employ fewer trained

   personnel than its competitors. For example, Ocwen’s Chief Financial Officer recently

   acknowledged, in reference to its offshore customer care personnel, that Ocwen is simply

   “training people to read the scripts and the dialogue engines with feeling.” Ocwen’s policy is to

   require customer support staff to follow the scripts closely, and Ocwen penalizes and has

   terminated customer support staff who fail to follow the scripts that appear on their computer

   screens. In some cases, this policy has frustrated struggling borrowers who have complex issues




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   that exceed the bounds of a script and have issues speaking with representatives at Ocwen

   capable of addressing their concerns. Moreover, Ocwen’s customer care representatives in many

   cases provide conflicting responses to a borrower’s question. Representatives have also failed in

   many cases to record in Ocwen’s servicing system the nature of the concerns that a borrower has

   expressed, leading to inaccurate records of the issues raised by the borrower.

          19.     Ocwen’s inadequate infrastructure and ineffective personnel have resulted in

   Ocwen’s failure to fulfill its legal obligations. Prior to the Department’s and the Compliance

   Monitor’s review, Ocwen did not take adequate steps to implement reforms that it was legally

   obligated to implement pursuant to the 2011 Agreement.

                         Widespread Conflicts of Interest with Related Parties

          20.     The Department’s review of Ocwen’s mortgage servicing practices also

   uncovered a number of conflicts of interest between Ocwen and four other public companies (the

   “related parties”),1 all of which are chaired by Mr. Erbey, who is also the largest individual

   shareholder of each and the Executive Chairman of Ocwen. In addition to serving as chairman

   of the board for Ocwen and each related company, Mr. Erbey’s holdings in these companies total

   more than $1 billion. Other Ocwen executives and directors also own significant investments in

   both Ocwen and the related parties. Yet, Ocwen does not have a written policy that explicitly

   requires potentially conflicted employees, officers, or directors to recuse themselves from

   involvement in transactions with the related companies.




   1
          The related parties are, as of the date of this Consent Order, Altisource Portfolio Solutions, S.A.
          (“Altisource Portfolio”), Altisource Residential Corporation, Altisource Asset Management Corporation,
          and Home Loan Servicing Solutions Ltd., and any of their affiliates, predecessors and successors in
          interest, both past and present, and any of their officers, directors, partners, employees, consultants,
          representatives, and agents or other persons and entities acting under their control or on their behalf.



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          21.     Despite Mr. Erbey’s holdings in these companies, Mr. Erbey has not in fact

   recused himself from approvals of several transactions with the related parties. Mr. Erbey, who

   owns approximately 15% of Ocwen’s stock, and nearly double that percentage of the stock of

   Altisource Portfolio, has participated in the approval of a number of transactions between the

   two companies or from which Altisource received some benefit, including the renewal of

   Ocwen’s forced placed insurance program in early 2014.

          22.     Ocwen’s close business relationship with related companies is particularly evident

   in its relationship with Altisource Portfolio, which has dozens of subsidiaries that perform fee-

   based services for Ocwen. In one example, Altisource Portfolio subsidiary Hubzu, an online

   auction site, hosts nearly all Ocwen auctions. In certain circumstances, Hubzu has charged more

   for its services to Ocwen than to other customers—charges which are then passed on to

   borrowers and investors. Moreover, Ocwen engages Altisource Portfolio subsidiary REALHome

   Services and Solutions, Inc. as its default real estate agency for short sales and investor-owned

   properties, even though this agency principally employs out-of-state agents who do not perform

   the onsite work that local agents perform, at the same cost to borrowers and investors.

          23.     Conflicts of interest are evident at other levels of the Ocwen organization. For

   example, during its review, the Monitor discovered that Ocwen’s Chief Risk Officer

   concurrently served as the Chief Risk Officer of Altisource Portfolio. The Chief Risk Officer

   reported directly to Mr. Erbey in both capacities. This individual seemed not to appreciate the

   potential conflicts of interest posed by this dual role, which was of particular concern given his

   role as Chief Risk Officer.




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                                        Settlement Provisions

 Monetary Payment

         24.      Ocwen will pay the amount of $150 million as follows:

               a. $100 million paid to the Department by December 31, 2014, as a civil monetary

                  penalty pursuant to New York Banking Law § 44, to be used by the State of New

                  York for housing, foreclosure relief, and community redevelopment programs

                  supporting New York’s housing recovery; and

               b. $50 million deposited into an interest-bearing escrow account by December 31,

                  2014, to be paid as restitution to current and former Ocwen-serviced borrowers in

                  New York, as follows:

                      i. $10,000 to each borrower whose home was foreclosed upon by Ocwen

                         between January 1, 2009, and the date of this Consent Order; and

                      ii. The balance of the $50 million to be distributed equally among borrowers

                         who had foreclosure actions filed against them by Ocwen between January

                         1, 2009, and the date of this Consent Order, but in which Ocwen did not

                         complete such foreclosure.

         25.      Ocwen agrees that it will not claim, assert, or apply for a tax deduction or tax

 credit with regard to any U.S. federal, state, or local tax, directly or indirectly, for any portion of

 the amount paid pursuant to this Consent Order.

 Borrower Assistance

         26.      For borrowers receiving payments pursuant to Paragraph 24(b)(ii), Ocwen will

 evaluate such borrowers for all applicable modifications and other foreclosure alternatives in

 light of their improved financial condition resulting from such payment.




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        27.     Beginning sixty (60) days after the date of execution of the Consent Order, and

 for a period of two years thereafter, Ocwen will provide upon request by a New York borrower

 that borrower’s complete loan file, which includes all information from all systems, including

 comment codes, at no cost to the borrower, regardless of whether such borrower’s loan is still

 serviced by Ocwen.

        28.     Beginning sixty (60) days after the date of execution of the Consent Order,

 Ocwen will provide every New York borrower who is denied a modification, short sale, or deed-

 in-lieu of foreclosure, a detailed explanation of the reasons for denial.

        29.     Beginning sixty (60) days after the date of execution of this Consent Order, for all

 New York borrowers who have been reported negatively by Ocwen to credit agencies since

 January 1, 2010, Ocwen will provide upon request at no cost a copy of such borrower’s credit

 report (including credit scores) no more than once a year, regardless of whether such borrower’s

 loan is still serviced by Ocwen. Ocwen will make sufficient staff available for borrowers to

 inquire about their credit reporting and will dedicate the resources necessary to investigate such

 inquiries and promptly correct any errors.

        30.     The Operations Monitor will oversee Ocwen’s compliance with these borrower

 assistance provisions and will work with Ocwen to develop appropriate procedures for such

 compliance.

 Operations Monitor

        31.     The Department will select in its sole discretion an independent on-site operations

 monitor (the “Operations Monitor”) that will report directly to the Department.

        32.     The Operations Monitor will review and assess the adequacy and effectiveness of

 Ocwen’s operations. Such an assessment will include but is not limited to the following areas:




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              a. Information technology systems and personnel, including with respect to record

                 keeping and borrower communications;

              b. Number of personnel and the training and expertise of its personnel in all

                 servicing operations;

              c. Onboarding process for newly acquired mortgage servicing rights, including

                 Ocwen’s ability to onboard newly acquired MSRs without interruption to

                 servicing newly acquired loans or its existing loan portfolio;

              d. Controls in identifying and correcting errors made by Ocwen’s personnel or

                 systems;

              e. Risk management functions;

              f. Contracts or proposed contracts with third parties, including but not limited to

                 related parties;

              g. Fees charged by Ocwen to borrowers or mortgage investors; and

              h. The Ocwen borrower experience.

        33.      The Operations Monitor will identify the criteria for determining what constitutes

 a “related party” for purposes of compliance with this Consent Order.

        34.      The purview of the Operations Monitor will extend to all matters directly or

 indirectly affecting New York borrowers, including matters that affect borrowers in all states or

 in multiple states that include New York.

        35.      The Operations Monitor will identify needed corrective measures to address

 identified weaknesses and deficiencies in Ocwen’s operations, make recommendations to Ocwen

 and to the Superintendent, and oversee implementation of reforms. The Operations Monitor will




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 also develop benchmarks against which to assess Ocwen’s progress in complying with

 recommended corrective measures.

        36.      The Operations Monitor will review and assess Ocwen’s current committees of

 the Board of Directors. Ocwen Financial Corporation’s Board of Directors (the “Board”) will

 consult with the Operations Monitor concerning, among other things, the structure, composition,

 and reporting lines of such committees, and whether certain committees should be either

 disbanded or created.

        37.      The Board will consult with the Operations Monitor to determine which decisions

 should be committed to the specific oversight of the Board’s independent directors, or a

 committee comprised of such independent directors, including, but not limited to:

              a. Approval of transactions with related parties;

              b. Approval of transactions to acquire mortgage servicing rights, sub-servicing

                 rights, or otherwise to increase the number of loans serviced by Ocwen;

              c. Approval of new relationships with third-party vendors;

              d. Determinations as to whether Ocwen’s servicing, compliance, and information

                 technology functions are adequately staffed;

              e. Determinations as to whether Ocwen’s servicing, compliance, and information

                 technology personnel are adequately trained;

              f. Determinations as to whether Ocwen’s information technology infrastructure and

                 ongoing investment in information technology systems are adequate;

              g. Determinations as to whether Ocwen is adequately addressing the issues

                 identified by the Operations Monitor and the Compliance Monitor; and




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              h. Determinations as to whether Ocwen is treating borrowers fairly and is

                 communicating with borrowers appropriately.

        38.      The Board will consult with the Operations Monitor to determine whether any

 member of senior management should be terminated or whether additional officers should be

 retained to achieve the goals of complying with this Consent Order, and all applicable laws,

 regulations, and agreements, as well as creating a corporate culture of ethics, integrity,

 compliance, and responsiveness to borrowers.

        39.      Ocwen may acquire MSRs upon (a) meeting benchmarks developed by the

 Operations Monitor concerning the adequacy of Ocwen’s onboarding process for newly acquired

 MSRs and its ability to adequately service both those newly acquired MSRs and its existing loan

 portfolio, and (b) the Department’s approval, not to be unreasonably withheld. The Operations

 Monitor will act with reasonable expedition to develop such benchmarks in consultation with

 Ocwen. These benchmarks will address, at a minimum, the following:

              a. The development and implementation of a satisfactory compliance plan;

              b. The development and implementation of a plan to resolve record-keeping and

                 borrower communication issues;

              c. The reasonableness of fees and expenses charged to borrowers and mortgage

                 investors, including those charged directly or indirectly by related parties;

              d. The development and performance of a risk assessment to identify potential risks

                 and deficiencies in the onboarding process; and

              e. The development of a written onboarding plan that addresses potential risks and

                 deficiencies, including testing and quality control review periodically during the

                 onboarding process.




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        40.     The Operations Monitor will semi-annually review and approve Ocwen’s

 benchmark pricing and performance studies with respect to all fees or expenses charged to New

 York borrowers by any related party.

        41.     The Operations Monitor will oversee and ensure Ocwen’s implementation and

 adherence to the terms of this Consent Order.

        42.     Within one hundred twenty (120) days of the date of the formal engagement of

 the Operations Monitor, the Operations Monitor will submit to the Parties a preliminary written

 report of findings, including, to the extent the Operations Monitor has had the opportunity to

 develop them, any proposed corrective measures and associated benchmarks (the “Operations

 Report”). The Operations Monitor will submit written monthly action progress reports

 (“Progress Reports”) to the Parties. On a quarterly basis, starting ninety (90) days from the date

 of the first Operations Report, the Operations Monitor will issue an Operations Report covering

 the three-month period immediately preceding.

        43.     Ocwen agrees to cooperate fully with the Operations Monitor by, including but

 not limited to, providing the Operations Monitor access to all relevant personnel and records

 necessary on a real-time basis, including those at any overseas locations, and including

 information on business decisions pertinent to the work of the Operations Monitor currently

 pending or recently made by Ocwen management or its Board of Directors, to allow the

 Operations Monitor to fulfill its duties.

        44.     Any dispute as to the scope of the Operations Monitor’s authority will be resolved

 by the Department in the exercise of its sole discretion after appropriate consultation with Ocwen

 and/or the Operations Monitor.

        45.     Ocwen will pay all reasonable and necessary costs of the Operations Monitor.




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          46.   The terms of the Operations Monitor will extend for a period of twenty-four (24)

 months from the date of formal engagement which shall be no later than May 1, 2015. The

 Department may, in its sole discretion, extend the engagement another twelve (12) months if the

 Department determines that Ocwen has not sufficiently achieved benchmarks identified by the

 Operations Monitor.

 Compliance Monitor

          47.   The Compliance Monitor will remain engaged for at least three (3) months from

 the execution of this Consent Order. The Department may, in its sole discretion, extend the

 engagement of the Compliance Monitor for a period not to exceed an additional three (3)

 months.

          48.   Following completion of the Compliance Monitor’s engagement, the Operations

 Monitor may call upon the Compliance Monitor to perform work that draws on the Compliance

 Monitor’s institutional knowledge of Ocwen.

          49.   Prior to the Operations Monitor’s engagement and for a short transitional period

 thereafter not to exceed forty-five (45) days, the Department may in its sole discretion direct the

 Compliance Monitor to fill any of the roles of the Operations Monitor described in this Consent

 Order.

 Board of Directors

          50.   Ocwen Financial Corporation will expand its Board of Directors by two

 independent board members (the “Additional Directors”) in consultation with the Compliance

 Monitor or the Operations Monitor.

          51.   The Additional Directors will not own equity in any related party.

          52.   Ocwen’s Board will contain no more than two executive directors at any time.




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 Conflicts of Interest

        53.       With respect to mortgage loans serviced by Ocwen, Ocwen will conduct semi-

 annual benchmarking studies of pricing and performance standards with respect to all fees or

 expenses charged to New York borrowers or to investors on New York property by any related

 party, to determine whether the terms offered by the related party are commensurate with market

 rates or, if market rates are not available, are reasonably related to actual expenses incurred by

 the related party. Maximum rates for services that are established by government-sponsored

 enterprises or other investors may not be presumed to be the market rate and may not substitute

 for actual assessment of market rates.

        54.       Ocwen will not share any common officers or employees with any related party.

        55.       Ocwen will not share risk, internal audit, or vendor oversight functions with any

 related party.

        56.       Any Ocwen employee, officer, or director owning more than $200,000 equity

 ownership in any related party will be recused from negotiating, or voting to approve a

 transaction with the related party in which the employee, officer, or director has such equity

 ownership, or any transaction that indirectly benefits such related party if such transaction

 involves revenues or expense to Ocwen or a related party of $120,000 or more.

 Management Changes

        57.       Effective January 16, 2015, William Erbey will resign from his position as

 Executive Chairman of Ocwen, his position as Chairman of the Board of Directors of Altisource

 Portfolio, his position of Chairman of the Board of Directors of Altisource Residential

 Corporation, his position of Chairman of the Board of Directors of Altisource Asset Management

 Corporation, and his position of Chairman of the Board of Directors of Home Loan Servicing




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 Solutions Ltd. Mr. Erbey will have no directorial, management, oversight, consulting, or any

 other role at Ocwen or any related party, or at any of Ocwen’s or the related parties’ affiliates or

 subsidiaries as of the date of his resignation. Effective at his resignation, Ocwen’s Board

 members and management will not disclose to Mr. Erbey any non-public information about

 Ocwen that is not available to other shareholders. In the event that Ocwen discovers a violation

 of the terms of this Paragraph, Ocwen will notify the Department of the violation within three (3)

 business days of discovery.

 No Indemnification

        58.     Neither Ocwen, nor any of its parents or affiliates will, collectively or

 individually, seek or accept, directly or indirectly, reimbursement or indemnification, including,

 but not limited to, payment made pursuant to any insurance policy, or from any of its parents or

 affiliates, with regard to any or all of the amounts payable pursuant to this Consent Order.

 Breach of Consent Order

        59.     In the event that the Department believes Ocwen to be in material breach of this

 Consent Order (“Breach”), the Department will provide written notice to Ocwen, and Ocwen

 must, within ten (10) business days of receiving such notice, or on a later date if so determined in

 the Department’s sole discretion, appear before the Department to demonstrate that no Breach

 has occurred or, to the extent pertinent, that the Breach has been cured.

        60.     The parties understand and agree that Ocwen’s failure to make the required

 showing within the designated time period will be presumptive evidence of Ocwen’s Breach.

 Upon a finding of Breach, the Department has all the remedies available to it under the New

 York Banking and Financial Services Laws and may use any evidence available to the

 Department in any ensuing hearings, notices, or orders.




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 Wavier of Rights

        61.     The parties understand and agree that no provision of this Consent Order is

 subject to review in any court or tribunal outside the Department.

 Parties Bound by the Consent Order

        62.     This Consent Order is binding on the Department and Ocwen, as well as Ocwen’s

 successors and assigns that are under the Department’s supervisory authority. This Consent

 Order does not bind any federal or other state agency or any law enforcement authority.

        63.     Except as set forth in Paragraphs 64 and 65, no further action will be taken by the

 Department against Ocwen for the matters set forth in this Consent Order, provided that Ocwen

 complies with the terms of the Consent Order.

        64.     Nothing in this Consent Order shall excuse Ocwen from paying required

 restitution to any borrowers harmed by its improper or illegal conduct, including the backdating

 of letters to borrowers. To the extent a borrower entitled to restitution has received a cash

 payment pursuant to this Consent Order, Ocwen may offset such payment against the restitution

 owed to such borrower.

        65.     Notwithstanding any other provision in this Consent Order, the Department may

 undertake additional action against Ocwen for transactions or conduct that: (a) are not set forth

 in this Consent Order; (b) Ocwen did not disclose to the Compliance Monitor or the Department

 in connection with the Department’s investigation into these matters; and (c) that the Department

 and Compliance Monitor were not otherwise aware of in connection with the Department’s

 investigation and the work of the Compliance Monitor.

 Notices

        66.     All notices or communications regarding this Consent Order will be sent to:




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 For the Department:

 Daniel Burstein
 Executive Deputy Superintendent
 Real Estate Finance Division
 New York State Department of Financial Services
 One State Street
 New York, NY 10004

 For Ocwen:

 Timothy M. Hayes
 Executive Vice President and General Counsel
 Ocwen Financial Corporation
 1661 Worthington Road #100
 West Palm Beach, FL 33409

 Miscellaneous

        67.      Each provision of this Consent Order will remain effective and enforceable until

 stayed, modified, suspended, or terminated by the Department.

        68.      No promise, assurance, representation, or understanding other than those

 contained in this Consent Order has been made to induce any party to agree to the provisions of

 the Consent Order.

 IN WITNESS WHEREOF, the parties have caused this Consent Order to be signed this 22nd

 day of December, 2014.

 OCWEN FINANCIAL CORPORATION                       NEW YORK STATE DEPARTMENT OF
                                                   FINANCIAL SERVICES

 By: _______________________                       By: _______________________
 RONALD FARIS                                      BENJAMIN M. LAWSKY
 President and Chief Executive Officer             Superintendent of Financial Services


 OCWEN LOAN SERVICING, LLC


 By: _______________________
 TIMOTHY M. HAYES
 Executive Vice President


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  For the Depmtment:

  Daniel Burstein
  Executive Deputy Superintendent
  Real Estate Finance Division
  New York State Department of Financial Services
  One State Street
  New York, NY 10004

  For Ocwen:

  Timothy M. Hayes
  Executive Vice President and General Counsel
  Ocwen Financial Corporation
  1661 WOithington Road #100
  West Palm Beach. FL 33409

  Miscellaneous

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  contained in this Consent Order has been made to induce any pmty to agree to the provisions of

 the Consent Order.

  IN WITNESS WHEREOF, the parties have caused this Consent Order to be signed this 19th

  day of December. 2014.

  OCWEN FINANCIAL CORPORATION                               NEW YORK STATE DEPARTMENT OF


            ~9-
                                                            FINANCIAL SERVICES

 By:                                                        By:
 RONALD FARIS                                               BENcc;J;-;A~M00I:-;N-;:M-;-,-;:L--;A-;cW;-;;S,-;K-:::;Y-;--

 President and Chief Executive Officer                      Superintendent of Financial Services


 OCWEN LOAN SERVICING, LLC


 By:
 TIMo:OccTocHooY=M-;-,-;:H-;-A;-;Yc;;E;c,S ,------
 Executivc Vice President


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For the Department:

Daniel Burstein
Executive Deputy uperintendent
Real Estate Finance Division
Nev. York tate Department of Financial Services
One tate Street
Ne\v York. NY I0004

Fo r Ocwen:

Timothy M. Hayes
Executive Vice President and General Counsel
Ocwen Financial Corporation
166 1 Worthington Road # 100
West PaJm Beach. FL 33409

Miscellaneous

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U1e Consen t Order.

lN WlTNE        \V1 IEREOF. the parties have caused this Consent Order to be signed this 19th

day ofDecernber. 2014.

OCWEN FINA C lAL CORPO RATIO                        NE\V YORK TATE DE PA RTMENT OF
                                                    FINA CIAL SERVICE

                                                       By:
By:-­- - - - ­- - ­
RONALD FARIS
                                                             ------------------­
                                                    BENJ AMIN M. LAWSKY
Pre ident a nd C hi ef Executive Officer            Superintendent of Financial Services


OCWE LOA SERVl CING, LLC


By: -rfl ~ 1~
T1MOTHY M. HAYES
Exec uti~ve Vice Pre ident



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